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                                UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF KANSAS

NO SPILL INC.,                                        )
                                                      )
                           Plaintiff,                 )
                                                      )
v.                                                    )       Case No. 2:18-cv-02681-JAR-KGG
                                                      )
SCEPTER CORPORATION, and                              )
SCEPTER MANUFACTURING LLC,                            )
                                                      )
                           Defendants.                )

  STIPULATED MOTION FOR EXTENSION OF TIME FOR DEFENDANT SCEPTER
                  MANUFACTURING LLC TO ANSWER

         Plaintiff No Spill Inc. (“No Spill”) hereby submits this stipulated motion for extension of

time for Defendant Scepter Manufacturing LLC (“Scepter Manufacturing”) to answer or

otherwise respond to the Complaint (“Answer”). The Parties request that the Court allow

Defendants Scepter Corporation (“Scepter”) and Scepter Manufacturing to file their Answer(s)

within 90 days after the waiver of service was sent to Defendants’ counsel. In support of the

motion, No Spill states as follows:

         1.       No Spill filed its Complaint on December 11, 2018 (Doc. 1).

         2.       On the same date, the Court issued summons for the Defendants.

         3.       Scepter is a corporation organized and existing under the laws of Canada and has

a principal place of business at 170 Midwest Road, Scarborough, ON, M1P 3A9, Canada.

         4.       Scepter Manufacturing is a limited liability company organized and existing under

the laws of the State of Delaware and has a principal place of business at 404 26th Avenue NW,

Miami, Oklahoma 74354.

         5.       Defendants have agreed to waive service of process.




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         6.       Under Fed. R. Civ. P. 4(d)(3), Scepter Manufacturing’s Answer deadline is 60

days from the date the waiver request was sent, which was December 28, 2018.

         7.       Because it is a foreign entity, Scepter’s Answer deadline is 90 days from the date

the waiver request was sent. Fed. R. Civ. P. 4(d)(3).

         8.       For the convenience of the parties and for the purpose of judicial economy, the

parties stipulate to an extension for Scepter Manufacturing to file its Answer on the same date as

Scepter’s Answer.

         9.       The parties request that the Court enter an order allowing Scepter Manufacturing

to file its Answer 90 days after the waiver request was sent.

         10.      For the avoidance of doubt, pursuant to Fed. R. Civ. P. 4(d)(5), Defendants do not

waive any objection to personal jurisdiction or to venue by waiving service of process.

                                                  Respectfully submitted,

                                                  STINSON LEONARD STREET LLP

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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 31, 2018, a true and correct copy of the foregoing
document was served on all attorneys of record who have consented to electronic service via the
Court’s CM/ECF system.

                                                   /s/ Bryce Langford
                                                   Attorney for Plaintiff No Spill Inc.




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